Filed 09/19/19                                                                       Case 19-11357                                                                    Doc 91

                                                                         UNITED STATES BANKRUPTCY COURT
                                                                          EASTERN DISTRICT OF CALIFORNIA
     In re                                                                 )
     Roberto Ayala                                                         )
     Veronica Elvia Ayala                                                  )         Case No. 2019-11357
                                                                           )
                              Debtor(s).                                   )         AMENDMENT COVER SHEET
    This form shall not be used to amend or modify plans.
    I am amending the following documents:
         Petition                                                       Statement of Financial Affairs
         Creditor Matrix                                                Statement of Intention
         List of 20 Largest Unsecured Creditors                         List of Equity Security Holders
         Schedules (check appropriate boxes). See Instruction #4 below.
             A/B      C     D    E/F    G       H      I    J       [X] Form 122A-1 Statement of Monthly Income
         Summary of Schedules of Assets and Liabilities
    A fee of $31 is required for:
             • An amendment that adds or deletes creditors;
             • An amendment that changes amounts owed to a creditor; or
             • An amendment that changes the classification of a debt.
                                                              NOTICE OF AMENDMENT TO AFFECTED PARTIES
        I certify that I have notified the trustee in the case (if any) that I have filed or intend to file the amended or supplemental
    document(s) listed above, and that I have notified all parties affected by the amendment, as required by Federal Rule of Bankruptcy
    Procedure 1009.*
     Dated:         September 19, 2019                                   Attorney's or Pro Se Debtor's Signature:     /s/ Thomas O. Gillis
                                                                                                        Printed Name: Thomas O. Gillis 40186
                                                                                DECLARATION BY DEBTOR
         I(We), the undersigned debtor(s), hereby declare under penalty of perjury that the information set forth in the amendment(s)
    attached hereto, consisting of    pages, is true and correct.
     Dated:         September 19, 2019                                                       Dated:    September 19, 2019
                    /s/ Roberto Ayala                                                                  /s/ Veronica Elvia Ayala
                    Roberto Ayala                                                                      Veronica Elvia Ayala
                    Debtor's Signature                                                                 Joint Debtor's Signature
                                                                                      INSTRUCTIONS
           Attach each amended document to this form. If there is a box on the form to indicate that the form is amended or
    supplemental, check the box. Otherwise, write the word “Amended” or “Supplemental” at the top of the form.

              If you are amending Schedules A/B, D, E/F, I, or J, you must also file an Amended Summary of Schedules of Assets and
    Liabilities in order to ensure that the totals are amended for statistical purposes. This form can be found on our website.

    •            To add creditors, write or type an “A” next to the creditors you are adding on any amended schedule you file. Additionally,
                 (or, in the event that you are only amending the creditor matrix) attach a list of all creditors with their addresses in .txt
                 format.
    •            To correct the names or addresses of creditors that appear on any schedule, use our Change of Address Form (EDC 2-085)
                 instead of filing this form, any amended schedule or an amended master address list.
    •            To delete creditors, write or type a “D” next to the creditors you are deleting on any amended schedule you file Do not
                 submit a .txt file of creditors to be deleted. Only creditors who have not filed a proof of claim in the case will be deleted .

              *Federal Rule of Bankruptcy Procedure 1009 requires the debtor to give notice of an amendment. Notice of the amendment
    will not be given by the Clerk’s Office. To comply with this requirement, the debtor's attorney or Pro Se debtor must give notice to
    the trustee and any party affected by the amendment by serving the amendment and all previous court notices including, but not
    limited to, the notice of meeting of creditors, discharge of debtor, etc. A proof of service, indicating that service has been made, must
    be filed with the court.

            Checks and money orders should be payable to "Clerk, U.S. Bankruptcy Court." (NOTE: No personal checks will be
    accepted.)
    Form EDC 2-015 Rev. 5/1/17
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     Fill in this information to identify your case:

     Debtor 1                  Roberto Ayala
                               First Name                       Middle Name               Last Name

     Debtor 2                  Veronica Elvia Ayala
     (Spouse if, filing)       First Name                       Middle Name               Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number            2019-11357
     (if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
     creditors have claims secured by your property, or
     you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         Chrysler Capital                                    Surrender the property.                      No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a         Yes
        Description of 2014 Dodge Ram 3500                                      Reaffirmation Agreement.
        property       343K(Fair) miles                                        Retain the property and [explain]:
        securing debt: Location: 17250 El Camino
                       Road, Madera CA 93636


        Creditor's         Mr Cooper                                           Surrender the property.                      No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a         Yes
        Description of        17250 El Camino Road Madera,                      Reaffirmation Agreement.
        property              CA 93636 Madera County                           Retain the property and [explain]:
        securing debt:



        Creditor's         Wells Fargo                                         Surrender the property.                      No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a         Yes
        Description of        2015 Nissan Pathfinder                             Reaffirmation Agreement.
                              176K(Good) miles

    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 1

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     Debtor 1      Roberto Ayala
     Debtor 2      Veronica Elvia Ayala                                                                  Case number (if known)    2019-11357

         property           Location: 17250 El Camino                         Retain the property and [explain]:
         securing debt:     Road, Madera CA 93636

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                             Will the lease be assumed?

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Roberto Ayala                                                            X /s/ Veronica Elvia Ayala
           Roberto Ayala                                                                    Veronica Elvia Ayala
           Signature of Debtor 1                                                            Signature of Debtor 2

           Date        September 19, 2019                                               Date     September 19, 2019




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Roberto Ayala
     Debtor 2
     (Spouse, if filing)
                           Veronica Elvia Ayala                                                           1. There is no presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                          2. The calculation to determine if a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
     Case number           2019-11357
     (if known)                                                                                           3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.

                                                                                                           Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                      penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                      living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                 Column B
                                                                                                           Debtor 1                 Debtor 2 or
                                                                                                                                    non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                        2,000.00       $         5,416.00
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                             0.00      $               0.00
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                  0.00      $               0.00
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from rental or other real property            $       0.00 Copy here -> $                  0.00      $               0.00
                                                                                                           $              0.00      $               0.00
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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     Debtor 1     Roberto Ayala
     Debtor 2     Veronica Elvia Ayala                                                                        Case number (if known)    2019-11357


                                                                                                          Column A                      Column B
                                                                                                          Debtor 1                      Debtor 2 or
                                                                                                                                        non-filing spouse
      8. Unemployment compensation                                                                        $                  0.00       $             0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
              For you                                          $                    0.00
                For your spouse                                          $                    0.00
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                          $                  0.00       $             0.00
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 . Disability                                                                             $                  0.00       $           661.00
                                                                                                          $                  0.00       $             0.00
                      Total amounts from separate pages, if any.                                     +    $                  0.00       $             0.00

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.                $       2,000.00          +   $       6,077.00      =    $      8,077.00

                                                                                                                                                          Total current monthly
                                                                                                                                                          income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>               $          8,077.00

                  Multiply by 12 (the number of months in a year)                                                                                             x 12
           12b. The result is your annual income for this part of the form                                                                    12b. $            96,924.00

      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                 CA

           Fill in the number of people in your household.                        6
           Fill in the median family income for your state and size of household.                                                             13.     $        114,813.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Roberto Ayala                                                      X /s/ Veronica Elvia Ayala
                    Roberto Ayala                                                              Veronica Elvia Ayala
                    Signature of Debtor 1                                                      Signature of Debtor 2
            Date September 19, 2019                                                    Date September 19, 2019
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.



    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                         page 2
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